




DISMISSAL FORM FOR CRIMINAL CASES ON ANT'S MOTION/OR WD NOA         




		NO. 12-03-00400-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




MICHAEL ANTONIO FULLER,§
	APPEAL FROM THE 

APPELLANT


V.§
	COUNTY COURT AT LAW NO. 2 OF


THE STATE OF TEXAS,

APPELLEE§
	SMITH COUNTY, TEXAS






MEMORANDUM OPINION


PER CURIAM


	Appellant has filed a motion to dismiss this appeal.  The motion is signed by Appellant and
his counsel.  No decision having been delivered by this Court, the motion is granted, and the appeal
is dismissed in accordance with Texas Rule of Appellate Procedure 42.2.

Opinion delivered December 17, 2003.

Panel consisted of Worthen, C.J., Griffith, J., and DeVasto, J.






(DO NOT PUBLISH)


